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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK



    AKHMED GADZHIEVICH BILALOV, an individual,

                                         Plaintiff,                  Docket #: 20-Civ-09153(AT)(KNF)



    - against-




    SBERBANK OF RUSSIAN PJSC, INC.

                                            Defendants.




                                       NOTICE OF MOTION

   PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

Declaration of Irina Shpigel, executed on October 4, 2022, Plaintiff Ahmed Bilalov (“Plaintiff”),

by and through his undersigned attorneys, will move this Court, at the Courthouse located at 40

Foley Square, New York, New York, at a date and time to be determined by this Court, for an

order pursuant to Federal Rule of Civil of Procedure (“FRCP”) 15(a)(2) for leave to amend the

complaint.

   PLEASE TAKE FURTHER NOTICE that Plaintiff is amenable to a return date convenient

for the Court and is willing to discuss with Defendants a briefing schedule acceptable to the parties

in place of the 14-day period for opposition papers, and 7-day period for reply papers, that would

otherwise apply under FRCP 6(c) and Rule 6.1(b) of the Local Rules for the United States District

Courts for the Southern and Eastern Districts of New York.
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Dated: New York, New York
       October 4th, 2022




                                                /s/Irina Shpigel
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